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EXHIBIT B

 
Alan Bonsell
January 3, 2005

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y > Vv.

Dover Area Schoo] District, et al.

 

 

Page 77
(1) I think that was in your question.
| OAS I mean I don't know who donated | all of the books. You
3) aidian't 3s ask — - because I don't know who donated all of

 

(5) BY MR. ROTHSCHILD:

(13]

 

(14)

Q: You can’t remember how this subject matter came up?
A: | believe I said before that it was because the comments
(17) of Barrie Callahan objecting to — what I remember is

[18] objecting to the school spending moncy on them. So I

[19] guess here is a group of people that said we will donate

(15)
116]

t2o) them.
1) @: And one member of that group of people told you?
[22] A: That they would donate the books. But I don't know —
(23) like I said, 1 don’t know the. group of people.
District st: statement, i it says that

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Page 78
a or/present his or her

 
  

3] What do you understand by the use of the term
(4) Creationism, what does Creationism mean?

gm A: You mean my opinion on what Creationism is?
F is is your Board’s press release. What does

 

(6) a: 4
m Creationism mean in this press release?
1) 0 Ag guess this would be. the religious _- what you would |

 

 

 

Page 79

a Qa; As that your understanding of what Creatipnism is?
2) A: My personal opinion? «

  

4] i
(s) Qets your understanding of Creationism, does it include
(6) the Yenet that creatures were formacd as they now exist,

rm binds having feather

[10]
(11)
(12) "8
{13}
{14}
{15]
{18}
(17)
[18]
(19]
(20)
(21)
(22)
(23)
(24)
f25}

 

Q: Do you know what Intelligent Design -— what position
Intelligent Design takes on that issue of common
descent?
A: Well, intelligent Design is not Creationism. Let’s
start off by saying that. Intelligent Design is a
scientific theory. And as far as, your know, you
‘wanting my understanding of Intelligent esi now? Is
that what you are asking?
Q: Is that also an tenet of Intelligent Design that humans,

 

(1) birds and fish don't share common ancestors!
2] A: As far as everything started from one animal, is that
fa] what you are saying?

(4)  Q: Just the question of whether they share
[5] ancestors. You answered that question as reg
{6} Creationism. ] am asking whether you have
7) understanding of whether Intelligent Design|supports the
[8] same proposition, that birds and fish and hu s do not

common
ds

 

 
   

  

 

 

 

 

 

 

19) call we Bible version of origins. e} have common ancestors.
tio) ©=- Q@r_: Ts that your personal understanding of what Creationism (19) Az 1 think Intelligent Design is saying that life couldn't
{it} means? .. (11) have gotten here by chance.That is basically|I believe
1q A:-Phatis — I mean the definition of Creationism, you ask (14) what they are saying.
[13] 50 peopleghere will be 50. different definitions. Sol 113, Q: Butis one of the things that Intelligent Design is
(14) mean. that’e-my-personatidefinition of that. 'm fiot [14] saying that the separate species, bids, fish, oyen do not
115] Spy tat i is everybody's definition. {15) share common ancestors? If you con't know, say you
(16) @: Your personal definition is the Bible version of (16) don't know.
17) origins; '}s that right? #, (17) A: Well, I'm not sure.
(18) A: That is very general, but yeah. [18] ww. of which concept. s
(19)  Q: Anything else that would fall:— (19) Cre ‘evolution is nore - . =
joo) AS Tmean # the Bible version of creation of man and animals, (20) ut 78
1] that cypef thing. (24) A: You are asking for my personal views|now?
jzq]_ «G: Would you agree that one aspect of Creationism is. that yea} «Gs: Yes. @
23) creatures were originally made as they now exist, humans 2) A: As far as Intelligent Design, Creationi
24) were humans, birds have feathers, fish have fins? je) «OQ: ‘Or ‘Darwin's cory. # @
(25) As You are asking my personal opinion? 25) A: Dol think one more than another?
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Tammy Kir Gaiiler Cea” 92 988-JEJ Document 198-3 Filed 09/21/05 Page 3|of 9 Alan Bonsel
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Page 81 Page 83
(t) Qs Yes. © {i] communications with the Discovery Institute?
mA: Yes. (2 A: Just basically things that they ted.
3] Q: ‘What is that? 3] MR. THOMPSON: We are going to be getting involved
4] A: T believe in the Creationism. 4] in attorney/client privilege here so we have to be
(5) Q: Do you believe Creationism is a scientific theory? is) careful. Be very careful in answering his question that
i) A: A Scientific theory? Intelligent Design is a scientific [6] you don’t reveal what you and the Discovery Institute
lm theory. I guess Creationism would not be. i lawyers discussed.
1a) + @: Have you attended any courses or jectures or seminars f—) | MR. ROTHSCHILD: As I said to Mr. Gillen, I am not
{9} relating to the subjects of evolution, intelligent 9) sure I agree with you that the attorn¢y/client privilege
(19) Design or Creationism? 1 know you said you have done (19) applies here.
(11) reading. (11) BY MR. ROTHSCHILD:
(tq A: Seminars? {2} Q: ] want to start without asking for any content of your
(13 = Q: Yes. [19] Communication for you to describe tb me how it came to
(14) At Attended seminars? I don’t believe | have attended 14) be that you had communication with the Discovery
(15) seminars. 115] Institute, again, taking care not to tell me what was
(16) Q: Lectures, courses? {16} said.
17) A: Ican't recall. 17) | At They had called and left a message for me to call them.
{181 @: Do you belong to a church? {18} | Q: What did they say on their moelsage?
t19) A: Yes. 9) At Basically that they just wanted|to discuss things that
fo) | @: What church is that? (20) they were, if | remember correctly, reading it in the
1) A: Church of the Open Door. [21] newspapers and things like that. You know, it was on
(z2}  @: Has the subject matter of Intelligent Design been 22] the AP wire so it was everywhere.
23] discussed at your church? (233 | Q: What did you do in response tp that call?
24) A: Idon’t — I don’t — I really — I really can’t answer 24) A: I did talk to them, but it was only I believe — only
(25) that, if it has ever been discussed. I’m not sure. 25} like once or twice that I ever like ed to them. It
Page 82 Page 8<«
1} Q@: Have you ever — (1) wasn't like J had many conversations with them or
1 A: I don't recall it being. (2) anything like that.
3] Q: The press has reported that Casey Brown stated that she i] Q: Was your first actual conversation returning the call
[4] was asked by members of the Board whether she was Born 4) that they had left on your voice me sage?
s] Again. ) A: I believe so.
(@) | Are you aware of that occurring? f | Q: What did you say when you first made contact with
™ A: No. (7) somebody at the Discovery Institute?
1) | Q: Ms. Yingling has been quoted in the press as stating she f) At Just I was returning your call pnd was inquiring what
{e} was encouraged to vote for the October 18th resolution 19] the message was for.
{19} by assertions that she was an atheist or un Christian. (19) Q: Who did you talk to?
{11} Are you aware of that occurring? [13] A: I believe it was Seth Cooper, an attorney.
12) A: No.] remember her — | also remember reading in the (1 @: How did he respond to your statement returning your
{13} paper that she said the reason she voted for it is so (13) call? What did he say to you?
[14] that people didn’t think she was an atheist. (14) A: He just said they wanted to discuss what we were doing
115)  @: You are not aware of anybody on the Board — [18] at the School District.
116) A: She didn’t say anything about being pressured. (16)  Q: Did he offer to represent you|at that point?
7, @Q: You are not aware — 17) A: I don’t recall.
(18) A: | am not aware of anything like that. No, absolutely {199 @: In your conversations, did Ma, Cooper or any other
(19) not. I think that is falsc, totally false. [19] attorney at the Discovery Institute ever offer to
fo) + Q@: Have you ever spoken to anybody at the Discovery (20) represent you or the School Distriqt?
(21) Institute? (2t} A: I would like to just take another break to ask my
23 ~=—OA:: Yes. (22) attorney a question.
123} @: When was that? 23)  Q: That is fine.
4} A: Just recently. (24) (The witness and his attorney exit the conference
{25} | @: Can you describe the circumstances of your (25) room to confer.)
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tt I think that-was in-your question.

 

Q: You can’t remember how this subject matter came up?
A: ] believe I said before that it was because the comments
17] of Barrie Callahan objecting to — what I remember is

19 objecting to the school spending money on them. So I

[19 guess here is a group of people that said we will donate

f29] them.

14

21) +: And one member of that group of people told you?
pa OA: That they would donate the books. But I don't know —

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1 Distri istrict, et al.

 

  
 

tm) that what you are asking?

 
 
 
 

[23 scientific theory. And as far as, youn know,
a wanting my understanding of Intelligent I

 

 

 

 

  

tty birds and fish don’t share common
@ A: As far as everything started from o
| a what you are saying?
4)

vm understanding of whether Intelliggent

p) have common ancestors.

oC 1 think Intelligent Design is saying
{14} have gotten here by chance. That is
[tq] what they are saying.

3 «| Gs: But is one of the things that In’

(14 saying that the separate specics, bids,
[18 share common ancestors? If you con't
tq don’t know.

7 A: Well, 'm not sure.

 

 

 

m same proposition, that birds and fish and

 
  
 
  
 
  
  

  

 

 

 

(19) Q: :Amything cise that would:Gall

pos A: T xiseancti nie rersinn cf-crontion of ann Sn Sais

vn thee 1B

[22 G: Wenld youagree that one aspect of Crestionieta is Saat pz

za) treatures were originally made as they now exist, humaris 2a

pa srere humans; birds ‘have feathers, fish have fins? 7 ipa Darw

jes) A: Youere asking my personal opinion? 25) A: Detahink one more than another} €

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Alan DULSC

 

 

 

 

 

  

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Page 81 Page 8
1") {1} communications with the Discovery Institute?
a a . tq A: Just basically things that they wanted.
a is that? 3 MRL THOMPSON: We are going fo be getting involved
4) risr the Creationism. = , we have to be

  
  

 

8 @ Do you pelicve Creationism is a scientific theory?
«= so: A scientific theory? Intelligent Design is a scientific
7 theory. 1 guess Creationism would not be.
jf) Q: Have you attended any courses or lectures or seminars
19) relating to the subjects of evolution, Intelligent

[1q Design or Creationism? I know you said you have done

(11) reading.

1q ~=—s As: Seminars?

(13) Q: Yes.
j4] A: Attended seminars? | don't believe I have attended
(1g seminars.

16 @:: Lectures, courses?

(17) A: Ican’t recall.

(1 @: Do you belong to a church?

vg =O Yes.

pa Qs What church is that?

py A: Church of the Open Door.

2a ~=—s«s@::: Has the subject matter of Intelligent Design been
2 discussed at your church?

(24) A: I don't — I don’t — I really — ! really can’t answer
(25) that, if it has ever been discussed. I'm not sure.

Page 82
1) Q@: Have you ever —

wm =A: I don’t recall it being.

a Q: The press has reported that Casey Brown stated that she
4) was asked by members of the Board whether she was Born
te Again.

8 Are you aware of that occurring?

m™ A: No.

mw Q@: Ms. Yingling has been quoted in the press as stating she
"i was encouraged to vote for the October 18th resolution

{10} by assertions that she was an atheist or un Christian.

1) Are you aware of that occurring?

13 A: No.1 remember her — I also remember reading in the
tH paper that she said the reason she voted for it is 0

(14) that people didn’t think she was an atheist.

(15 «=: You are not aware of anybody on the Board —

j1@ A: She didn’t say anything about being pressured.

17} GQ: You are not aware —

11 =A: lam not aware of anything like that. No, absolutely

(19 not. I think that is false, totally false.

BA

23)

as A: Just recently.

es) «—: Can you describe the circumstances of your

|ea  Q: What did you do in respo

  
  
 
 
 
 

#4) in attorney/client privilege here s
jo) careful. Be very careful in answeri g his question that
6) you don’t reveal what you and the Discovery Institute
m lawyers discussed.
f «0s MR. ROTHSCHILD: As I said to . Gillen, I am not

wi sure | agree with you that the at drncy/client privilege
119 applies here.
{11} BY MR. ROTHSCHILD:
(13 Q: J want to start without a ing

22) the AP wire so it was

4) «OA: :I did talk to them, but it wa
{25 like once or twice that I ever

 

   
  
  
   
  
  
   
 
  

Page
{1) wasn't like I had many ions with them or
(4 anything like that.
] © @: Was your first actual co: tion returning the call
#4) that they had left on your voice ce?
1@ A: I believe so.
«so: What did you say when first made contact with
[7] somebody at the Discovery te?
is) A: Just ] was returning your and was inquiring what
19) the message was for.
1q GQ: Who did you talk to?
11) As I believe it was Seth an attorney.
{1q- @: How did he respond to statement returning your
[1] call? What did he say to you?.
[14] A: He just said they wanted discuss what we were doing

[19 at the School District.
(1 Q: Did he offer to represent
17 «=A: I don’t recall.

[19 attorney at the Discovery
(20) represent you or the School
21) A: I would like to just take
(24 attorney a question.
fz) =: That is fine.
(24) (The witness and his attorney exit the conference

 

 

f25] room to confer.)

 

 

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. Dover Area school

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@

{2}
8)
{4
5)

 

 

Page 17
Q: Sounds like you have done at least a fair amount of
reading on these subjects, and II am interested to know
whether your pursuit of information about these subjects
started only after you became a member of the Board or
whether you were reading on these subjects before you

became a member of the Board.

 

 

 

(4)
(2)
3)
(4)
S

 

 

 
 

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Q: Yoursald you

 

the circumstances in which you viewed those? How did
they-come into your possession?

A: I purchased them.

 

 

 

 

 

 

 

 

 

 

 

 

 

(8) «=o: When did you purchase them? |
m A: 1am interested — | have been interested in science all m AR was — 1am trying to think of whan that was. 1
is} my life. I have interests in many, many subjects. {8} believe it would have been some months 4go, but I am not
g) «=O: And were you reading articles about Evolution and 9} exactly sure when,
(19) Intelligent Design pr jor to becoming a member of the (19) «=: The resolution was voted on October 18th, 2004; is that
{41} Board? (11) consistent with your memory?
{12} A: 1 probably have. Evolution, jam sure. Intelligent 12] A: Of the change, this piece here?
(13] Design, somewhere in that area lam sure because I know 13): Yes. x ‘
[14] itis a newer theory. (14) As Yes. ©
tis) © @: Lam just cur ious. What made you start seeking out 11)  @: Was your purchase of these two DVD's before or after
{16} information to know subject of Intelligent Design? tie that?
yA: It had piqued my curiosity because there are other 177) A: Tt-was around the same time, or it gould have been
118) theories out there, and there are many gaps in Darwin's (19) after. I’m not exactly sure. I'm not exactly sure
[193 Theory. And so it was to see what other scientists have 9] When. .
(20) to say about other ways of looking at the same evidence. jo) G: Do you think you had viewed those — was the first time
21) @: Now you said you have read material on the Internet, 21) you viewed those DVD's after you personally had
(22) correct? (22) purchased them?
1233 ~~ ~A: Sure, yes. / yea} ~SOA:: I think the Unlocking the Mysteries of Life, | am not
oe: Q: Can you. remember with any spt 24) sure if I saw that beforehand or not. The|Icons was I
(25) articles or authors that you read on the Internet? (25) think later. But the Unlocking the Mystefies, that was
Page 18 Page 20
ty) A: There ggain, a lot of the information you will see, it 1) I believe earlier. But I am not — I'm not sure. It
{2) will be on a page or something like that, or somebody \2} could have been before. It could have been after. I'm
13] will send you an e-mail and say I read this, and this fa) just not sure.
4} might be of interest.to you. 14] @: Was your first viewing of Unlocking the Mystery of a
15) The problem with saying where it came from on the 5) copy you had purchased or that was made —
ie) ‘Internet, there’s millions of places they come fr ‘om. To is) A: That is what I am trying to rem ber, if it was somebody
71 be specific, I didn’t realize I was going to be asked 7 gave me a copy and then I purchased gne, or if somebody
1a] that question. Maybe I could have went back and looked. [a told me about it, and I purchased it. I'm not sure.
(a) Just off the top of my head, I don't recall. ] MA. GILLEN: Alan —
fo) SG: Again, | understand that. I am not asking you these tio) As 1am trying.
[11] questions to point out some flaw. i114) MR, GILLEN: Trying to remember igen you should
112] A: I know. I know. Okay. 12} do to answer his questions, but it is algo true if you
133 GQ: lama college basketball fan, and I read to find out {13} can't remember, you can just tell him that.As he said,
[14) who is going early into the NBA draft. 1 have some [14} it is not a trick question.
(15) information. | couldn't tell you every place I got that tts) A: | am trying to remember to be as truthful as I possibly
(16) information from. (16) can and try to remember everything I} can possibly
7) ‘If that is your answer to the question I am {17) remember. When you are asking me questions exactly when
(1a) asking, that is fine. (18) a specific time in reference to a DVDj that is a tough
(19) A: Okay. [19) question.
20} @: Thave to ask the questions. feo} | just can’t — I'm not positive I amp just not
©" A: Okay. (2%) sure.
2) @: Sofm correct that you can’t specifically identify the {22 BY MR. ROTHSCHL®:
(23) sources of any particular information you read on the 23] ~@: In that DVD Unlocking the Mystery of Life, there are
(24) Internet? [24] appearances by a number of individyals such as Michael
(25) | A: Not per se, no- jes, Behe; correct?
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Jan Bonsell

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my) OA: Yes. [1] probably leading scientists. I don’t know if the whole 4

iq @: Stephen Meyer, do you remember him? (2) group is or not. ©

1] A: Stephen Meyer, yes. 3} @: Are you familiar with any other organizations that are

(4)  Q@: Scott Minnich? (4 actively researching or promoting Intelligent Design?

S A: Yes. fs} A: Groups?

js)  Q: Paul Nelson? (6) Q@: Yes. Organizations, think tanks, anything like that.

7 A: Name sounds familiar. 7 A: Not by name.

(3) | @: Doyou have an understanding of whether some or all of 1) Q@: We have now talked about these two DVD’$. Can you

{9} those individuals have an association with the Discovery 9) recall any other DVD's or videos that you have w: bitched

10) Institute? (19) on the subjects of Evolution or Intelligent Design

14) A: I think some of them do. I don’t know whether all of (14) With the same instruction, if you can't remember]

12) them do. (12) names —

13)  Q: Are you familiar with the Discovery Institute? 3] «At Lean’t remember.

14) A: Yes. 114)  Q@: What about TV programs, can you name any TV programs?

15) @: How are you familiar with them? 48) A: Discovery, 1 remember them having a TV pyogram. I am

16) A: Just knowing them, that they are a large group of [16} pretty sure it was on the Discovery Channel. It was a

17| scientists that I believe have looked at the scientific 117) whole program on basically the Piltdown man.

1a] evidence out there and have some other theories of their (18)  @: Anything else you can think of by way of TV shows?

49] own, what they have come up with by looking at the same (19) A: There again, I am sure other shows on that mean

20) evidence that the Darwin scientists have looked at. 20) sometimes, the National Geographic will have samething.

214] Q: Do you associate them with the idea of Intelligent (21) I have seen other — because 1 am not sure exactly the

22) Design? {22} channel per se.] am pretty sure this was on the

231 +A: I believe that probably most of them adhere to that. 23] Discovery Channel.

24)  Q: Do you havea recollection of when you first became 24) And some of the National Geographics puts the

25) aware of the Discovery Institute? 25] specials on. They had another one I believe on the @
Page 22 Page 24

[1] A: I believe that would have been last year some time. (1) Discovery Channel on Evolution and the animal$ and how

(2 @: Did you become aware of them in connection with the 2) they evolved from bear animals to whales and things like

{3} Board's consideration of the biology curriculum? tg} that. Just a couple of things that stick in my head at ,

14) A: Yes, it was before the curriculum change. 4) the time right now.

(s) @: What I am sort of getting at is you have described a lot 3]  @: Putting aside television shows and just foqusing on

(6) of reading and investigation into the subjects of 6) DVD's, videotapes, written materials, have you qver’

7 Evolution and Intelligent Design, and 1 am trying to get 7 given things that you have read or reviewed to ¢nother

{g} a sense of whether you were aware of the Discovery (a) Board member for their consideration on these fopics?:

{9} Institute from your sort of personal reading ‘before this 19) A: 1 thifik'this video, I think I've offered — I’m siot

10) issue sort of came up before the Board. {10} sure. I have given the video to people that were

11) At I think somewhere along the line, it came up in [11) interested. In the same way they are curious in this

12} discussions about this group. [12] subject and wanted to see it.

13} @: Discussions by the Board? 13] ‘ir trying to think if the Board members — fhey

14) A: I don't know if it was ata Board meeting or anything [14) probably watched this video, but I am not sure

15} like that. But there were discussions that were (15) Q: ¥6ikdon't know one way or the other?

46) somewhere last year that there’s these scientists, this 16) A: I’m not positive.

47 group the Discovery Institute. i7 =o: When you! have talked about giving this yideo out, did

4a) @: And I think you just said a minute ago they are a group 1g) that occur before or after the resolution was passed?

49] of scientists that are involved in the issue of 19] As I believe that most of that — well, I believe that has

20) Intelligent Design? (20) been sinc

21} A: I believe so, yes. fat): ‘any Board member given you written materials or

22}  Q: Do you have an under standing of whether they are the (22) mails attaching written material or videotapqs or }

2a leading group of scientists on this subject? 23 DVD's for your consideration on the subject? let's

24) ‘At If they are the leading group of scientists? | mean (24) qualify that before you voted on the October 18th

‘25, some of the scientists that might be in the group are 15) resolution. *

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April 13, 2005

 

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1 @: Sounds like you have done at least a fair amount of
1q reading on these subjects, and ] am interested to know
fa) whether your pursuit of information about these subjects
{4 started only after you became a member of the Board or
ig) whether you were reading on these subjects before you

 
  
 
 

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6) became a member of the Board.
am aA: 1am interested — |] have been interested in science all

fe) my life. I have interests in many, many subjects.

(9)

Q: And were you reading articles about Evolution and

[19 Intelligent Design prior to becoming a member of the

(11) Board?

nq OAs I probably have. Evolution, I am sure. Intelligent
{13} Design, somewhere in that area I am sure because I know

[14] itis a newer theory.

5) @: lam just curi

ous. What made you start secking out

{16} information to know subject of Intelligent Design?
(17, A: It had piqued my curiosity because there are other
(1a) theories out there, and there are many gaps in Darwin's

{1s} Theory.And so it was to see what other scientists have
fen) to say about other ways

   

of looking at the same evidence.

 

 

(11) questions to point

 

out some flaw.

pa OA I know. I know. Okay.
yg} GQ: lama college basketball fan, and I read to find out

(14) who is going early

into the NBA draft. 1 have some

[15] information. L couldn't tell you every place I got that

jie) information from.

(17] If that is your answer to the question [am

ise) asking, that is fine.
ii OA: Okay.

jen) «0s: T have to ask the questions.

@" A: Okay.
Q: Sa! R:

[22}

 

—_{fett sure.

 
 

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OVp's icons of
7 3

Bo you think you had viewed ose — was the first time
(21) you viewed those DVD's after you pq sonally had

(eq) purchased them?

(231 A: I think the Uniocking the Mys bries of Life, 1 am not

4) sure if | saw that beforehand or not. Icons was 1

| (28) think later. But the Unlocking the M steries, that was

 

 

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Le
ty 1 believe earlier. But 1 am not — I’mjnot sure. It
1 could have been pefore. It could have been after. I’m

Bl

4]

&

{6

7 gave me a copy and then I p :
je} told me about it, and I purchased i I'm not sure.
jj MA. GILLEN: Alan —

(19)

111]

{12}

: lam trying.
MR. GILLEN: Trying to remembe is what you should
is also true if you
that. As he said,

do to answer his questions, but it
{13 can’t remember, you can just tell hi
[14] itis nota trick question.
115) A lam trying to remember to
{16} can and try to remember everyt
(17) remember. When you are asking
(18) a specific time in reference to a D

as truthful as I possibly
g 1 can possibly
questions exactly when
D, that is a tough

am just not a

ea BY MR. ROTHSCHILD:

fem) Gz In that DVD Unlocking the|Mystery of Life, there are
{a4) appearances by a number of individuals such as Michael

ps} Behe; correct?

[19] question.
reo) I just can't — I'm not positive

 

 

 

 

 

 

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wan pyc Case 4:04-cv-02688-JEJ Document 198-3 Filed 09/21/05 Page 9
pril 13, 2005 Dover Area School pistrict, et al.
_—.

_ Page 21 La Page 23
| / A: Yes. “| (1) probably leading scientists. I don't know if the |whole .
1/ @: Stephen Meyer, do you remember him? | group is or not. ®@
} A: Stephen Meyer, yes. ry«O@: -Are you familiar with any other organizations that arc

1}  Q: Scott Minnich? u) actively researching or promoting Intelligent Design?

a As Yes. 1) A: Groups?

4  @: Paul Nelson? 1) —«Q:_ Yes. Organizations, think tanks, anything like that.

1 A: Name sounds familiar. mA: Not by name.

y  @: Do you have an understanding of whether some or all of | @: We have now talked about these two DYD’s.Can you

q those individuals have an association with the Discovery 19 recall any other DVD's or videos that you have watched

4 Institute? 1! on the subjects of Evolution or Intelligent D

A: 1 think some of them do.I don’t know whether all of (14) With the same instruction, if you can’t rem:

4 them do. (12) names -——

3 Q@: Are you familiar with the Discovery Institute? (13) A: can’t remember.

4 As Yes. aay "GE What about TV programs, can you namelany TV programs?

3 @: How are you familiar with them? 11 At Discovery, 1 remember them having a program. I am

@ A: Just knowing them, that they are a large group of {16} pretty sure it was on the Discovery Channel. It was a .

7 scientists that I believe have looked at the scientific 117), whole program on basically the Piltdown

a) evidence out there.and have some other theories of their je) @: Anything else you can think of by way ofTV shows?

9) own, what they have come up with by looking at the same 1 A: There again, I am sure other shows on qhat.] mean

9 evidence that the Darwin scientists have looked at. 2) sometimes, the National Geographic will something.

4] @: Do you associate them with the idea of Intelligent pt) Ihave seen other — because I am not sure tly the

2 Design? 24) channel per se. ] am pretty sure this was on e

4) A: I believe that probably most of them adhere to that. 3) Discovery Channel.

7 @: Do you have a recollection of when you first became 2) And some of the National Geographics puts the

15) aware of the Discovery Institute? 26) specials on. They had another one | believe on the @
a See 22 Page 24
1) Az I believe that would have been last year some time. 1) Discovery Channel on Evolution and the animals and how

wz Q: Did you become aware of them in connection with the w they evolved from bear animals to whales and things like

3 Board's consideration of the biology curriculum? 3) that. Just a couple of things that stick in my lead at ‘

4) At: Yes, it was before the curriculum change. j4) the time right now.

«0: What I am sort of getting at is you have described a lot a: ‘

i, of reading and investigation into the subjects of

m Evolution and Intelligent Design, and I am trying to get

(a sense of whether you were aware of the Discovery

1 Institute from your sort of personal reading before this

19 issue sort of came up before the Board.

1) A: 1 think somewhere along the line, it came up in

1g discussions about this group.

‘= Qs: Discussions by the Board?

14) A: I don’t know if it was at a Board meeting or anything
49 like that. But there were discussions that were
4g somewhere last year that there's these scientists, this
47, group the Discovery Institute.
49 «©@: And I think you just said a minute ago they are a group

49) of scientists that are involved in the issue of

2) Intelligent Design?
2) A: I believe so, yes.

2)  @: Do you have an understanding of whether they are the

23 leading group of scientists on this subject?

2 «A: :«‘If they are the leading group of scientists? I mean

25, some of the scientists that might be in the group are

 

 

 

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